     Case: 1:19-cv-02710 Document #: 51 Filed: 07/11/19 Page 1 of 2 PageID #:3895




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                    Case No. 19-cv-02710
               Plaintiff,
                                                    Judge Sharon Johnson Coleman
v.
                                                    Magistrate Judge M. David Weisman
HAPPYMOTO, et al.,
               Defendants.


                               SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 9, 2019 [48], in favor of

H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff”) and against the Defendants Identified in

Schedule A in the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant,

and Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

               Defendant Name                                         Line No.
                  aijuanjuan                                            125
                   Famever                                              142
                jinxingtrading                                          158
                     Nady                                               173
                   panlinan                                             177
                 sweekyhouse                                            189

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
   Case: 1:19-cv-02710 Document #: 51 Filed: 07/11/19 Page 2 of 2 PageID #:3895




Dated this 11th day of July 2019.    Respectfully submitted,


                                     /s/ RiKaleigh C. Johnson
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080 / 312.360.9315 (facsimile)
                                     aziegler@gbc.law
                                     jgaudio@gbc.law
                                     rjohnson@gbc.law

                                     Counsel for Plaintiff H-D U.S.A., LLC




                                        2
